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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 24-cr-20051-JEM

  UNITED STATES OF AMERICA
           Plaintiff,
  vs.

  ALFRED LENORIS DAVIS,
           Defendant.
                                           /


  REPLY TO UNITED STATES’ RESPONSE IN OPPOSITION TO THE DEFENDANT’S
                           MOTION IN LIMINE

         The Defendant, Alfred Lenoris Davis, by and through undersigned counsel, respectfully

  files this Reply to United States’ Response to the Defendant’s Motion in Limine [DE 30] and

  states the following:

         1. The Court’s pretrial order directed the parties to file Motions in Limine no later than a

             week prior to the calendar call, which made the Motion due by April 23, 2024.

         2. The Government emailed the undersigned on Friday, April 19, 2024, asking whether

             the undersigned would stipulate to the fact that the defendant was previously

             convicted of a felony. The Government indicated they would be filing a notice of

             intent to introduce Defendant’s previous conviction and notice to introduce testimony

             that the Defendant previously lived at the same building under the same alias.

         3. The undersigned emailed the Government on Monday, April 22, 2024, indicating that

             we would not agree to the proposed stipulation and opposed it.

         4. On April 23, 2024, seeing no Notice of Intent to Introduce Evidence under FRE

             404(b) was filed by the Government, the undersigned filed a Motion in Limine to

             exclude the evidence proposed by the Government in their email.



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          5. Later on in the day, the Government filed their Notice of Intent to Introduce Evidence

              as Inextricably Intertwined or Under Rule 404(B) [DE 27].

          6. The undersigned was unable to file a more detailed Motion in Limine regarding the

              previous convictions and previous bad acts without being properly noticed by the

              Government.

          7. The undersigned has filed a Response to the Government’s 404(B) Notice

              contemporaneously with this Reply [DE 31].



          WHEREFORE, the Defense asks that the Court considers the Defendant’s Response to

  the Government’s Notice of Intent to Introduce Evidence [DE 31] when ruling on Defendant’s

  Motion In Limine.


                                     CERTIFICATE OF SERVICE

          I HEREBY certify that on April 27, 2024, undersigned counsel electronically filed

  foregoing document with the Clerk of Courts using CM/ECF which will send notification of such

  filing to all counsel of record.

                                               Respectfully submitted,

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                                                     /s/Zeljka Bozanic
                                               By:_________________________________
                                                     Zeljka Bozanic
                                                     Florida Bar No. 23707




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